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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


    UNITED STATES OF AMERICA

            v.                                            Case No. 19-20450-CR-Scola

    ALEX NAIN SAAB MORAN, et al.,

          Defendants.


                 REPLY IN FURTHER SUPPORT OF DEFENDANT’S MOTION TO
                       PERMIT TESTIMONY BY VIDEOCONFERENCE

           Defendant Alex Nain Saab Moran (“Defendant” or “Mr. Saab”) respectfully submits this

   reply in further support of his Motion to Permit Testimony by Videoconference, ECF No. 127.

   Defendant’s motion seeks permission to present the testimony of witnesses located in Venezuela,

   identifying “VZ Witness 1” and “VZ Witness 2,” who have personal knowledge regarding Mr.

   Saab’s status as a Venezuelan special envoy to Iran. The motion also requests permission to present

   the videoconference testimony of additional Venezuelan witnesses, including to counter

   contentions made in the government’s opposition brief, due November 7, 2022. Order, ECF No.

   137.

                                            ARGUMENT

   I.      Safeguards to Ensure the Integrity of the Testimony Can Be Devised

           Despite its repeated earlier position that foreign witnesses’ testimony should be obtained

   via pretrial deposition under Fed. R. of Crim. P. 15, see Transcript of Status Conf., ECF No. 122

   at 22:3-5, the government has now abandoned that position by failing to respond to Defendant’s

   argument that Rule 15 is inapposite here and consequently, live videoconference testimony is “the

   only appropriate, meaningfully effective method of presenting the testimony of VZ Witness 1 and

   VZ Witness 2 and any additional witnesses. . . .” Def.’s Br., ECF No. 127 at 8-10. See, e.g., Jones
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   v. Bank of Am., N.A., 564 F. App’x 432, 434 (11th Cir. 2014) (failure to respond to any portion of

   a motion or claim therein renders such portion or claim unopposed, constituting abandonment of

   opposition); accord Centennial Bank v. M/Y Karacol, 2022 WL 393365, at *2 (S.D. Fla. Feb. 9,

   2022). The net result is that the government now opposes any effort to procure the testimony of

   VZ Witness 1 or VZ Witness 2, other than by (presumably) in-person testimony.

          The government does not contest that the testimony of VZ Witnesses 1 and 2 is material to

   Mr. Saab’s affirmative defense of in transitu diplomatic immunity, or that such evidence must be

   permitted under both the Due Process Clause of the Fifth Amendment and the Compulsory Process

   Clause of the Sixth Amendment. United States v. Hurn, 368 F.3d 1359, 1362 (11th Cir. 2004);

   United States v. Machado, 886 F.3d 1070, 1085 (11th Cir. 2018); United States v. Ramos, 922

   F.2d 968, 9674 (11th Cir. 1991). Yet, as elaborated infra Section II, the government proffers no

   reasonable means for obtaining these witnesses’ in-person testimony, and it fails to refute the

   existence of two crucial obstacles: (1) Venezuelans cannot even obtain an interview for a U.S. visa

   (much less the visa itself) until late 2024, far too late for the pretrial hearing on diplomatic

   immunity; and (2) both VZ Witness 1 and VZ Witness 2 (and likely other Venezuelans) are

   ineligible to enter the U.S. because neither has received a CDC-approved COVID vaccine.

   Accordingly, respect for Defendant’s constitutional rights requires granting the present motion.

          Indeed, the government’s only objection to the present motion is that Defendant “has not

   proposed any safeguards to ensure the integrity of the testimony it proposes to take abroad.” Opp’n

   Br., ECF No. 133 at 3. It asserts that Defendant “does not propose the location of the testimony,

   who would be present at that location during the testimony to ensure that there is no undue

   influence or coaching of the witnesses, or how the Court could be assured that the witnesses are

   providing their testimony voluntarily and of their own free will.” Id. It also objects that Defendant




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   has not provided “evidence that the swearing in of the witnesses and subjecting them to potential

   perjury criminal charges will have any meaningful effect. . . .” Id.

          These concerns can be addressed with reasonable measures. Defendant thus proposes the

   following safeguards to ensure the integrity of the proceedings. First, the testimony will take place

   in Caracas, Venezuela, at a room in the Hotel Cayena which is a secure location with reliable

   Internet connection.1 Second, the testimony will take place via Zoom, a familiar and secure

   videoconferencing platform that has been used for numerous court hearings and conferences

   during the COVID-19 pandemic. Third, witnesses will be sworn in, under penalty of perjury, by

   the U.S. court staff, just as he/she would for in-person testimony. Fourth, the only individuals who

   will be present during each witness’ testimony will be the witness him/herself and one additional

   neutral individual, who will assist with the cameras and any other technology issues that may arise.

   Fifth, two cameras (Zoom accounts) will be used in the room where the testimony takes place: one

   camera will focus on the witness and the other will provide a view of the room, to ensure that no

   other individuals are present who could influence the witnesses’ testimony. Each party and the

   judge will have laptops/computers by which they will appear, logging into their own Zoom

   accounts. Sixth, the identity of the witnesses can be verified by requiring the witnesses to show an

   official Venezuelan identification (e.g., passport) over the camera. Seventh, as this Court discussed

   with Silvia Zetterstrand of the court interpreter’s office during the July 15, 2022 status conference,

   an interpreter “would connect remotely on Zoom” which is feasible based on the Court’s prior

   experience of having “had hearings before where the defendant is in the courtroom who needs

   interpreter services, and the witness abroad who has testified by Zoom, using an interpreter, and it



   1
     Or, alternatively, counsel is currently exploring the possibility of using space at a third country’s
   embassy in Caracas with which both Venezuela and the United States have established diplomatic
   relations.

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   has worked.” Transcript of Status Conf., ECF No. 122 at 21:4-18. Eighth, the court reporter will

   be present in Miami as usual. Ninth, if exhibits are used, they will be shown to the witness via

   screen-sharing on Zoom and hardcopies will also be present in the courtroom for examination by

   the judge and the parties.

          The government cites numerous cases in its argument about insufficient safeguards but,

   tellingly, only two cases disallow an accused’s request to obtain videoconference testimony of

   witnesses: (1) United States v. Banki, 2010 WL 1063453 (S.D.N.Y. Mar. 23, 2010); and (2) United

   States v. Buck, 271 F. Supp. 3d 619 (S.D.N.Y. 2017). Both cases are readily distinguishable.

          Banki was decided in 2010—over twelve years ago, when the use of videoconference

   technology was far less accepted and ubiquitous. Since the COVID-19 pandemic, courts have

   become much more familiar and comfortable with videoconference testimony. More

   fundamentally, the defendant in Banki (unlike here) made no argument regarding (and the court

   never addressed) the accused’s Fifth and Sixth Amendment rights to present favorable, material

   witnesses. See generally Banki, No. 10-cr-08, Mem. in Support of Def.’s Mot. to Present

   Testimony, ECF No. 24. The Banki court’s primary concern was that because the witnesses were

   in Iran, they could not be extradited to face perjury charges if they lied, and “without the teeth of

   the penalty of perjury, the oath becomes nothing more than an empty recital.” Banki, 2010 WL

   1063453, at *4. The government contends that the same rationale applies here. ECF No. 133 at 4.

          The second case, United States v. Buck, concluded that the defendant had not shown

   evidence of the Swiss witnesses’ unavailability or the materiality of their testimony, which was

   cumulative of other evidence. Buck, 271 F. Supp. 3d at 623. Here, by contrast, the government has

   not contested either unavailability or materiality, and it cites Buck only for dicta expressing

   concerns about Switzerland’s lack of extradition—dicta which was based upon Banki. Id. at 624.




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           The Banki court’s rationale (and Buck court’s dicta) is unpersuasive. The lack of an

   extradition treaty neither eliminates the possibility of perjury prosecution nor renders a U.S. court-

   administered oath “an empty recital.” First, Mr. Saab proposes using the same oath administered

   to all U.S. court witnesses—which invokes the sanction of perjury under U.S. law—not the oath

   of another country. In United States v. Khan, No. cr-11-20331, for example, this Court allowed

   administration of a Pakistani oath, concluding that it provided reliability—even though it lacked

   U.S. perjury sanction—because the “premise—that an oath is meaningless without a perjury

   sanction—is false.” Khan, Order, ECF No. 562 at 5 (Nov. 2, 2012). It reasoned, “[a]lthough perjury

   sanctions do encourage being truthful, oaths encourage being truthful in other ways and thus do

   not become meaningless absent a perjury sanction.” Id. Accord United States v. Abu Ali, 528 F.3d

   210, 241 (4th Cir. 2008) (court cannot conclude that Saudi oath “failed to serve its intended

   purpose of encouraging truth through solemnity.”). Second, Venezuela’s extradition policy does

   not prevent U.S. perjury prosecution. If a Venezuelan witness testifying via videoconference

   commits perjury and subsequently travels to (or through) a country allowing extradition, he/she

   can be detained via INTERPOL notice and extradited to the U.S.2 Thus, the proposed

   administration of a U.S. oath, backed by the potential of perjury prosecution, provides ample

   indicia of solemnity and reliability to ensure the integrity of the proceedings.

           More fundamentally, both Banki and Buck addressed the propriety of videoconference

   testimony during a trial. The present motion, by contrast, seeks to use videoconference testimony

   at a pretrial evidentiary hearing on diplomatic immunity, at which no jury will be present. The

   Court is the trier of fact for this pretrial hearing and based on the facts adduced, it will reach a legal



   2
    Indeed, Mr. Saab is a Venezuelan national who was detained in Cape Verde and subsequently
   extradited to the U.S. That “Venezuela does not permit the extradition of its own nationals,” Opp’n
   Br., ECF No. 133, at 4, did not prevent Mr. Saab’s extradition.

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   conclusion regarding Mr. Saab’s entitlement to in transitu diplomatic immunity. “When the Court

   is the trier of fact, concerns about permitting evidence of questionable reliability—which is what

   drove the outcomes in Banki and Buck—are far less pressing.” United States v. Donzinger, 2020

   WL 6364652, at *2 (S.D.N.Y. Oct. 28, 2020). Indeed, when the Court is the trier of fact, as with a

   bench trial, “courts have concluded that the proper course is to err on the side of admitting the

   evidence” because “the Court can take in the evidence freely and separate helpful conclusions from

   ones that are not grounded in reliable methodology.” Id.

          Given the undisputed materiality of the testimony proffered by these witnesses, the

   corresponding concern for protecting the Fifth and Sixth Amendment rights of the accused, the

   numerous safeguards proposed by Defendant, and the fact that the testimony will occur during a

   pretrial hearing (not trial itself), the Court should grant the present motion.

   II.    The Government Adduces No Evidence Disputing the Witnesses’ Unavailability

          VZ Witness 1 and VZ Witness 2 are unavailable for in-person testimony due to factors

   beyond Defendant’s control. Foreign nationals located in Venezuela are obviously beyond this

   Court’s subpoena power.3 See United States v. Drogoul, 1 F.3d 1546, 1553 (11th Cir. 1993);

   Mamani v. Berzain, 2018 WL 888849, at *1 (S.D. Fla. Feb. 14, 2018). Beyond this, the witnesses

   are unavailable based on two independent, undisputed facts: (1) the current wait time for a visa

   interview with the U.S. embassy in Bogota, Colombia4 is over two years and four months and

   despite several months of discussions, there is no evidence that the United States is either willing

   or able to expedite U.S. visas; and (2) the witnesses are ineligible for U.S. entry because neither



   3
     It is also worth noting that the United States has not offered safe passage to any of Defendant’s
   Venezuelan witnesses.
   4
     Venezuelans seeking to enter the U.S. are required to apply at the U.S. embassy in Bogota,
   Colombia because the U.S. has suspended operation of the U.S. embassy in Caracas, Venezuela.
   See U.S. Embassy in Venezuela, U.S. Visa Services, available at https://ve.usembassy.gov/visas/.

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   has received a COVID-19 vaccine that is approved for entry by the U.S. Centers for Disease

   Control (“CDC”).

          A.      There is No Evidence that U.S. Visas Can be Obtained Prior to the Pretrial
                  Hearing

          The government’s opposition falsely asserts that Defendant “has made minimal efforts to

   have the witnesses come to the United States. . . .” Opp’n Br., ECF No. 133 at 1. But as elaborated

   below, VZ Witness 1 applied for a U.S. visa but was given an appointment and interview date in

   late 2024 (too late for the pretrial hearing)5 and Defendant made a good faith effort over several

   months to obtain the government’s assistance with expediting visas, to no avail. The parties

   conferred on the issue of expediting visas multiple times, and Defendant has complied with each

   of the government’s requests. Yet the government has repeatedly moved the goalposts, delayed

   resolution, and provided no indication that it is even able to facilitate visa expedition by the State

   Department.6

          Specifically, during a telephonic meeting held June 16, 2022, Defendant informed the

   government that it had identified four potential Venezuelan witnesses7 on diplomatic immunity

   and queried the government regarding assistance with expediting U.S. visas to enable in-person


   5
     Given this reality, VZ Witness 2 has not applied for a U.S. visa. Doing so obviously would be
   futile, as the U.S. embassy Bogota in the normal course grants appointments and interviews
   sequentially, in the order received.
   6
     The State Department, not the Department of Justice, is responsible for issuance of U.S. visas.
   See U.S. Dep’t of State, Bureau of Consular Affairs, U.S. Visas, available at
   https://travel.state.gov/content/travel/en/us-visas.html/.
   7
     Four days later, on June 20, 2022, defense counsel emailed the government the names and titles
   of the five potential Venezuelan witnesses. The government’s opposition falsely asserts that
   “[n]one of those five potential witnesses [identified in the June 20 email] is VZ Witness 1 or 2.”
   Opp’n Br., ECF No. 133 at 2. VZ Witness 2 was the third individual listed in the June 20 email,
   which identified him/her both by name and job title. Moreover, on September 1, 2022—the day
   the present motion was filed—Defendant informed the government by email of the identities and
   job titles of both VZ Witnesses 1 and 2. The motion informed the Court and government of the
   anticipated substance and materiality of both witnesses’ testimony. See Def.’s Br., ECF No. 127
   at 4.


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   testimony. See Declaration of Kendall Wangsgard (“Wangsgard Decl.”) filed herewith, ¶ 4. The

   government stated that potential witnesses should apply for U.S. visas and it would then explore

   whether applications could be expedited. Id. ¶ 5.

          At a subsequent telephonic conference July 12, 2022, defense counsel informed the

   government that the U.S. Embassy in Bogota had informed VZ Witness 1 that appointments for

   visa interviews were backlogged and unavailable until October 2024,8 far too late for this Court’s

   pretrial hearing. Id. ¶ 7. The government responded that any potential witness must nonetheless

   file a visa application before it could explore whether expedition would be possible. Id. Ten days

   later, on July 22, 2022, defense counsel emailed government counsel, providing a copy of VZ

   Witness 1’s passport and confirmation of submission of his/her visa application and interview

   appointment, scheduled for late 20249 at the U.S. embassy in Bogota. Id. ¶ 8.

          Approximately two weeks later, during another telephonic conference held on August 9,

   government counsel advised that it had no further update and did not know whether State

   Department expedition would be possible, but it would check and update defense counsel. Id. ¶ 9.

          One week later on August 16, 2022, during another telephonic meeting, defense counsel

   again inquired if the government had any update regarding expediting VZ Witness 1’s visa

   application. The government responded again that it would check. Id. ¶ 10. The following day

   (August 17), government counsel emailed defense counsel, requesting (for the first time) a copy

   of VZ Witness 1’s “receipt from the visa application interview document that includes the bar code


   8
     The lengthy time required to obtain a visa is confirmed by the U.S. State Department’s website,
   which indicates that the current wait time for an individual seeking a non-immigrant visitor visa
   from the U.S. embassy in Bogota is 857 calendar days—approximately 2 years and 4 months. See
   U.S. Dep’t of State, Bureau of Consular Affairs, U.S. Visas, available at
   https://travel.state.gov/content/travel/en/us-visas.html/ (last visited Sept. 17. 2022).
   9
     VZ Witness 1’s initial in-person appointment date with the Applicant Service Center at the U.S.
   embassy in Bogota is scheduled for October 25, 2024 and the required in-person interview date is
   scheduled for November 1, 2024.

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   on it[.]” Id. On August 30, 2022, defense counsel emailed government counsel the requested bar

   code. Id.

          It is now three weeks since the bar code was provided—and over three months since

   defense counsel first requested the government’s assistance with expedition—and Defendant still

   has heard nothing. It is therefore reasonable to conclude, under these facts, that there is no realistic

   possibility that U.S. visas will be issued prior to the pretrial hearing on diplomatic immunity.10

          B.      The Witnesses Are Ineligible for U.S. Entry Because They Have Not
                  Received CDC-Approved COVID-19 Vaccines

          In addition to the inability to obtain a U.S. visa in time for the pretrial hearing, VZ Witness

   1 and VZ Witness 2 are unavailable for in-person testimony because neither has received a CDC-

   approved COVID-19 vaccination, rendering them ineligible for U.S. entry under a Presidential

   proclamation and implementing CDC guidelines. Def.’s Br., ECF No. 127 at 6-7. Both individuals

   have received the Russian vaccine, Sputnik, which is not on the CDC’s approved vaccines list.

   The government does not contest these witnesses’ vaccine-related unavailability. Instead, it objects

   only that “[t]he United States has never been provided any documentation verifying the COVID-

   19 vaccination status of any potential witness for the evidentiary hearing.” Opp’n Br., ECF No.

   133, at 2. Yet as the government surely knows, it has no right to pretrial production of the private

   medical records of third-party witness. In both civil and criminal cases, “[p]arties alone are subject

   to discovery. Third-party witnesses need not submit to discovery.” In re Union Carbide Corp. Gas

   Plant Disaster, 634 F. Supp. 842, 850 (S.D.N.Y. 1986). See also In re U.S., 878 F.2d 153, 156



   10
      At the time the present motion was filed, the pretrial hearing on diplomatic immunity was
   scheduled to begin October 31, 2022. The Court subsequently modified the schedule, and the
   hearing will now begin December 12, 2022. See Order, ECF No. 137. Given the lack of any
   progress during the last three months, there is no evidence reasonably suggesting that U.S. visas
   for Venezuelan witnesses can be expedited and issued by the State Department prior to December
   12.


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   (5th Cir. 1989). More fundamentally, “[i]t is indeed clear beyond peradventure that ‘the

   Constitution embodies a promise that a certain private sphere of individual liberty will be kept

   largely beyond the government’” and “medical records are clearly within this constitutionally

   protected sphere.” In re Search Warrant (Sealed), 810 F.2d 67, 71 (3d Cir. 1987) (quoting

   Thornburgh v. Am. College of Obstetricians, 47 U.S. 747 (1986)); accord Shoemaker v. Handel,

   608 F.Supp. 1151, 1159 (D.N.J. 1985); United States v. Bowers, __ F. Supp. 3d __, 2022 WL

   195819, at *15 (W.D. Pa. 2022).

                                          CONCLUSION

          For the foregoing reasons, Defendant respectfully requests that the motion be granted,

   allowing live videoconference testimony for any Defense witness located in Venezuela, including

   VZ Witness 1 and VZ Witness 2. For any additional Defense witnesses located in Venezuela,

   including rebuttal necessitated by the government’s diplomatic immunity opposition brief (due

   November 7, 2022), Defendant will provide the Court and government with the names and

   anticipated general substance of such witnesses’ testimony at the same time Defendant’s reply

   brief is due (November 14, 2022). See Order, ECF No. 137.

   Dated: September 19, 2022

                                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 19, 2022, I electronically filed the foregoing with

   the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

   to all counsel of record.

                                                              /s/ Lindy K. Keown
                                                              Lindy K. Keown




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